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  Exhibit B-VII
  Exoo-Tucci Tweets

  Incorporated by reference in FASC at ¶¶ 7, 108, 109, 110




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